Case: 3:19-cr-00169-TMR Doc #: 50 Filed: 02/21/20 Page: 1 of 10 PAGEID #: 189

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet |

UNITED STATES DISTRICT COURT

Southern District of Ohio

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

Vv.

ETHAN KOLLIE Case Number: 3:19-CR-169

USM Number: 78407-061

Nicholas G. Gounaris / Antony A. Abboud
Defendant’s Attorney

THE DEFENDANT:
M pleaded guilty to count(s) Count 1 and Count 2 of the Information

C pleaded nolo contendere to count(s)
which was accepted by the court.

 

(J was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 922(g)(3) & Possession of a Firearm by a Person who is an Unlawful 8/8/2019 1
§ 924(a)(2) User of or Addicted to any Controlled Substance
The defendant is sentenced as provided in pages 2 through 10 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
L] The defendant has been found not guilty on count(s)

 

CL] Count(s) CL is C] are dismissed on the motion of the United States.

 

___ It is ordered that the defendant must notify the United States attorney for this district within 30 Gas of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed bythis judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes,in economic circumstances.

  

2/20/2020

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a sae of Judge
Thomas M. Rose, District Judge
Name and Title of Judge

2/21/2020

Date
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 1A

DEFENDANT: ETHAN KOLLIE
CASE NUMBER: 3:19-CR-169

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 924(a)(1)(A) | Making a False Statement or Representation in the 8/8/2019 2

Records Required to be Obtained by a Federal Firearm

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AO 245B (Rev. 09/19) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 3 of 10
DEFENDANT: ETHAN KOLLIE
CASE NUMBER: | 3:19-CR-169

IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a

total term of:

Thirty-two (32) months on Count 1 and thirty-two (32) months on Count 2 to run concurrent for a total aggregate sentence of
thirty-two (32) months.

M1 The court makes the following recommendations to the Bureau of Prisons:
Be accorded all allowable presentence credit for time spent incarcerated on said offense. Be incarcerated at a facility

as close to Dayton, Ohio area consistent with his security status. If eligible be allowed to enroll and participate in the
500 hour Residential Drug Treatment Program (RDAP) or in the alternative any available substance abuse treatment.
Be allowed to enroll and participate in any available vocational or educational training to assist him in obtaining and

L] The defendant is remanded to the custody of the United States Marshal.

[] The defendant shall surrender to the United States Marshal for this district:

C] at UO am. [LJ pm. on

 

 

LJ] as notified by the United States Marshal.

¥| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
CL] before 2 p.m. on ; ee

[Was notified by the United States Marshal.

L] as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant deliveredon _ to _ ee
at _ _, with a certified copy of this judgment.
UNITED STATES MARSHAL 7
By a

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 2A — Imprisonment

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DEFENDANT: ETHAN KOLLIE
CASE NUMBER: 3:19-CR-169

ADDITIONAL IMPRISONMENT TERMS

maintaining employment. Receive mental health counseling.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page 5 of 1
DEFENDANT: ETHAN KOLLIE
CASE NUMBER: 3:19-CR-169
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

Three (3) years the first six (6) months to be served on Home Incarceration.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

2. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

L] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4, (] You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)
De M You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
C] You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7 L] You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19) — Judgment in a Criminal Case
Sheet 3A — Supervised Release

Judgment—Page 6 of 10
DEFENDANT: ETHAN KOLLIE
CASE NUMBER: 3:19-CR-169

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

we

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date

 
Judgment in a Criminal Case
Sheet 3D — Supervised Release

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Judgment—Page 7 of 10

DEFENDANT: ETHAN KOLLIE
CASE NUMBER: 3:19-CR-169

SPECIAL CONDITIONS OF SUPERVISION

1. If not completed while incarcerated, the defendant shall participate in a program of treatment, either inpatient or
outpatient, and testing for substance abuse, as directed by the U.S. Probation Office. The defendant shall make a
co-payment for treatment services not to exceed $25 per month, which is determined by the defendant's ability to pay.

2. The defendant shall participate in a mental health treatment program at the direction of the probation officer. The
defendant shall make a co-payment for treatment services not to exceed $25 per month, which is determined by the

defendant's ability to pay.

3. The defendant shall participate in a vocational services program as directed by the probation officer. Such program may
include on the job training, job readiness training, and skills development training.

4. The defendant shall perform 40 hours of community service with an agency approved in advance by the probation
officer within the first 2 years of supervision.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page 8 of 10
DEFENDANT: ETHAN KOLLIE
CASE NUMBER: 3:19-CR-169
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 200.00 $ 0.00 $ 0.00 $ 0.00 $ 0.00
L] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
L] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

 

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00

 

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
() the interest requirement is waived for the [] fine [) restitution.

[] the interest requirement forthe [] fine (2 restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

** Justice for Victims o Tee ct of 2015, Pub. L. No. 114-22,
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on

or after September 13, 1994, but before April 33.4 996.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgment — Page 9 of 10
DEFENDANT: ETHAN KOLLIE
CASE NUMBER: 3:19-CR-169

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A WM Lumpsum payment of $ 200.00 due immediately, balance due

[] notlaterthan , or
(1) inaccordance with  C, () D, fF E,or CL F below; or

B (J Payment to begin immediately (may be combined with OIC, L]1D,or [1 F below); or

C (©) Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence fe.g., 30 or 60 days) after the date of this judgment; or

D (Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

E (J Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time: or

F (Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(1 Joint and Several

Case Number . ‘
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,

(including defendant number) Total Amount Amount if appropriate

L] The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

1 The defendant shall forfeit the defendant’s interest in the following property to the United States:
Magazine "Moe" PMAG 30 with 30 "Tulammo" 7.62x39 rounds of ammunition; Micro Draco 7.62mmx39mm firearm with
any attachments, Serial No. PMD1179797RO; Black Taurus G2c 9mm handgun with any attachments,

Payments shall be appied in the following order: (1) assessment, 2) restitution pine pal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 6B — Schedule of Payments

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DEFENDANT: ETHAN KOLLIE
CASE NUMBER; 3:19-CR-169

ADDITIONAL FORFEITED PROPERTY

Serial No. TLRO8219; black 12-round magazine loaded with twelve (12) 9mm pistol rounds of ammunition; box of
Critical Defense 12 gauge 2 3/4 00 buckshot containing 4 rounds of ammunition: box of Critical Defense 38 SPCL+P
110 grain FTX containing 15 rounds of ammunition; a Taurus 38 Special revolver with any attachments, Serial No.
GZ80488; five bullets; and one magazine with 7 rounds of 9mm ammunition.
